
726 S.E.2d 852 (2012)
STATE of North Carolina
v.
Lawrence Collins JOHNSON.
No. 96P12.
Supreme Court of North Carolina.
June 13, 2012.
James N. Freeman, Jr., Elkin, for Johnson, Lawrence Collins.
Joseph Herrin, Special Deputy Attorney General, for State of North Carolina.
Peter S. Gilchrist, III, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 12th of March 2012 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following *853 order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex Mero Motu by order of the Court in conference, this the 13th of June 2012."
Upon consideration of the petition filed on the 12th of March 2012 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 13th of June 2012."
